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rN THE UNITED STATES DISTRICT COURT 31 ~-~--_to,@
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUN `
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77 W'D- H;C/}FUND JAST Cl`.O
WILLIAM BELCHIA, q CKSON
Plaintiff, g
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vs. § No. 04-1303-T/An
CORRECTIONS CORPORATION OF g
AMERICA, et al., §
ll
Defendan_ts. g

 

ORDER TO COMPLY WITH PLRA
ORDER ASSESSING 3150 CIVIL FILING FEE
ORDER OF PA§TIAL DISMISSAL
ND
ORDER TO EFFECT SERVICE ON THE REMAINING DEFENDANTS

 

Plaintiff William Belchia, Tennessee Department of Correction prisoner number
152705, an inmate at the Whiteville Correctional Facility (“WCF”) in Whiteville, Tennessee,
filed a civil action pursuant to 42 U.S.C. § 1983 on Novernber 18, 2004. Belchia did not file
an application seeking leave to proceed in_ w pagpe_ri§. The Clerk shall record the
defendants as the Corrections Corporation of America (“CCA”), the State of Tennessee,l
P. Clark, and A. Whitehurst.

I. Assessment of Filing Fee

Under the Prison Litigation Refonn Actof 1995 (“PLRA”), 28 U.S.C. § l 915(b), all

prisoners bringing a civil action must pay the full filing fee of 3150 required by 28 U.S.C.

 

1 Plaintiff named the Tennessee Department of Correction (“TDOC") as a defendant A state department
is not a suable entity. Therefore the Court construes the complaint to name the State of Tennessee as the defendant §_e§
Haf`er v. Melo, 502 U.S. (1991).

This document entered on the docket sheet ln compliance
with Flu!e 58 andfor 79 (a) FRCP on

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§ 1914(a).2 The in forma pauperis statute, 28 U.S.C. § 1915(a), merely provides the prisoner
the opportunity to make a “downpayment” of a partial filing fee and pay the remainder in

installments

In this case, plaintiff has not properly completed and submitted both an i_n forma

 

pgnm affidavit and a prison trust fund account statement showing:

lg the average monthl deposits, and

2 the average month y balance for the six months prior to submission of the
complaint, and

3) the account balance when the complaint was submitted.

Pursuant to 28 U.S.C. § 1915(b)(1), it is ORDERED that the plaintiffcooperate fully
with prison officials in carrying out this order. It is ORDERED that within thirty (30) days
of the entry of this order the plaintiff shall properly complete and file both an i_n gang
p_aulm affidavit and a trust fund account statement showing the above amounts. It is
further ORDERED that the trust fund officer at plaintiff` s prison shall calculate a partial
initial filing fee equal to twenty percent (20%) of the greater of the average balance in or
deposits to the plaintiff" s trust fund account for the six months immediately preceding the
completion of the affidavit When the account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. If the funds in plaintiffs
account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintiff’ s account and forward them
to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiff s account and pay to the Clerk of this Court

monthly payments equal to twenty percent (20%) of all deposits credited to plaintiff"s

 

Because this action was commenced prior to March 7, 2005, the new 8250 filing fee is inapplicable

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account during the preceding month, but only when the amount in the account exceeds
310.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment

All payments and account statements shall be sent to:

Clerk, United States D_istrict Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. nghland Ave., Jackson, TN 38301

and shall clearly identify plaintiff s name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify
the Court immediately of his change of address. If still confined he shall provide the
officials at the new prison with a copy of this order.

lf the plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the WCF to ensure that the custodian of the plaintiffs inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing
fees.

II. Analysis of Plaintiff s Claims

The complaint alleges that the plaintiff, who suffers from hepatitis C, has not been
provided evaluation and monitoring for his disease in accordance with TDOC Policy
#113.42 § 4. Plaintiff alleges that defendant A. Whitehurst, a nurse practitioner, and
defendant P. Clark, WCF Medical Director, informed him that CCA does not provide the

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treatment and medication for Hepatitis C because they are too expensive Plaintiff attached
a copy of a grievance filed on October 22, 2004, which states:

On September 22, 2004 l tested positive for Hepatitis C Virus and on October

21, 2004 once again I asked for medical treatment and was told by P. Clark

Medical director that the medication and the treatment was too expensive and

that l had to be positive for 6 months before 1 received any treatment 1 need

medication and treatment A.S.A.P.

Plaintiffs grievance was returned to him with the notation that his grievance was
inappropriate Plaintiff appealed and alleged that the response he received was that a
medical grievance was inappropriate

Plaintiffs claims against the State of Tennessee are barred by sovereign immunity
Absent a clear abrogation of immunity by congressional action or an express state waiver
of that immunity, the Eleventh Amendment prohibits suits against a state in federal court.
Kentucl<y v. Graham, 473 U.S. 159, 165»66 (1985); Pennhurst State Schl. & Hosr). v.
Halderrnan, 465 U.S. 89, 98-100 (1984); Quern v. Jordan, 440 U.S. 332 (1979). A state is
not a person within the meaning of 42 U.S.C. § 1983. Will v. Michigan, 491 U.S. 58, 71
(1989). Even to the extent that a suit seeks only injunctive relief against the State, the
Eleventh Amendment still bars the action. Idaho v. Coeur D'Alene Tribe of Idaho, 117 S.
Ct. 2028, 2041 -42 (1997). Accordingly, plaintiffs claims against the State of Tennessee are
barred and fail to state a claim upon which relief may be granted. Those claims are
DlSMISSED pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii).

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies. Brown v.
mt_l§, 139 F.3d 1102 (6th Cir. 1998); §§ Porter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’s exhaustion requirement applies to all inmate Suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only

money damages must exhaust administrative remedies even though damages are unavailable

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through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claimsl Knuckles El v.
M, 215 F.3d 640, 642 (6th Cir. 2000). ln order to comply with the mandates of 42
U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and show that they have been

exhausted b_y attaching a co§y of the applicable administrative dispositions_to

the complaint or, in the a sence of written documentation, describe with

specificity the administrative proceeding and its outcome
LL. at 642; s_e@ls_o Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to
adequately allege exhaustion may not amend his complaint to avoid a si_i_a sm)n_te dismissal);
Cur_ry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court
to dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies prior to filing suit an d, therefore
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis, 196
F.3d 641, 645 (6th Cir. 1999).

ln this case, the plaintiff appears to have exhausted his claim against defendant Clark.
Because plaintiffs grievance does not mention defendant Whitehurst, he has not exhausted
his claims against her. Moorer v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003)
(plaintiff did not exhaust claim against warden because his grievance did not identify the
warden or articulate any claim against her); IMQ_]M, 337 F.3d 720, 733-34 (6th
Cir. 2003); Qu_rry, 249 F.3d at 504.3

The Sixth Circuit recently stated that “[a] plaintiff who fails to allege exhaustion of

administrative remedies through ‘particularized averments’ does not state a claim on which

relief may be granted, and his complaint must be dismissed w sponte” Baxter, 305 F.3d

 

3 As no Sixth Circuit decision has held that an inmate’s grievance must specifically mention the corporation

that operates a prison in order to exhaust his claims against that entity, the Court declines to dismiss the plaintiffs claims
against CCA sga sponte on that basis.

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at 489. Accordingly, the Court DISMISSES the complaint with respect to defendant
Whitehurst, without prejudice pursuant to 42 U.S.C. § l997e(a).4
IV. lssuance of Process

lt is ORDERED that the Clerk shall issue process for the remaining defendants, P.
Clark and CCA, and deliver said process to the marshal for service Service shall be made
on the individual defendant pursuant to F ed R. Civ. P. 4(e)(l) and Tenn. R. Civ. P. 4.04(1)
& (10), either by mail or personally if mail service is not effective Service shall be made
on CCA pursuant to Fed. R. Civ. P. 4(h)(l). The service on the defendants shall include
copies of this order. All costs of service shall be advanced by the United States.

lt is ORDERED that the plaintiff shall serve a copy of every further document filed
in this cause on the attorney for each defendant or on any defendant that has no attorney. The
plaintiff shall make a certificate of service on every document filed The plaintiff shall
familiarize himself with the F ederal Rules of Civil Procedure and this Court’s local rules

The plaintiff shall promptly notify the Clerk of any ch an ge of address or whereabouts
Failure to comply with these requirements or any other order of the Court, may result in this
case being dismissed without further notice J,¢`

IT IS SO ORDERED this day of June, 2005.

 

 

4 As the Sixth Circuit explained, “lf the plaintiff has exhausted his administrative remedies, he may always

refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement assuming that
the relevant statute of limitations has not run.” I_d.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case l:O4-CV-01303 was distributed by fax, mail, or direct printing on
.lune 9, 2005 to the parties listed

 

 

William Belchia

Whiteville Correctional Facility
l 52705

P. O. Box 679

Whiteville, TN 38075

Honorable .l ames Todd
US DISTRICT COURT

